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1
                                UNITED STATES DISTRICT COURT
2
                                       DISTRICT OF NEVADA
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4      GEROLD CENTENO,                                      Case No. 2:23-cv-02131-JAD-DJA

5                                          Plaintiff,                    ORDER
              v.
6
       STEVEN GRIERSON, et al.,
7
                                      Defendants.
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9     I.     DISCUSSION

10           On June 28, 2024, the Court issued an order screening Plaintiff’s first amended

11    complaint under 28 U.S.C. § 1915A. (ECF No. 20). The Court dismissed the complaint in

12    its entirety and gave Plaintiff until September 27, 2024, to file a second amended

13    complaint. (Id. at 8). Plaintiff appealed the screening order, and, on October 23, 2024, the

14    United States Court of Appeals for the Ninth Circuit dismissed Plaintiff’s appeal. (ECF

15    Nos. 21, 24). The Court extends the deadline for Plaintiff to file a second amended

16    complaint until December 16, 2024.

17           The Order dismissing Plaintiff’s appeal has been returned as undeliverable to the

18    last address that Plaintiff provided. (ECF No. 25). Nevada Local Rule of Practice IA 3-1,

19    a “pro se party must immediately file with the court written notification of any change of

20    mailing address, email address, telephone number, or facsimile number. … Failure to

21    comply with this rule may result in the dismissal of the action, entry of default judgment,

22    or other sanctions as deemed appropriate by the court.” Nev. Loc. R. IA 3-1. This Court

23    grants Plaintiff until December 16, 2024, to file his current address with the court.

24    II.    CONCLUSION

25           For the foregoing reasons, it is ordered that Plaintiff will file any second amended

26    complaint on or before December 16, 2024.

27           It is further ordered that Plaintiff will file his updated address with the Court on or

28    before December 16, 2024.

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1            It is further ordered that if Plaintiff fails to timely comply with this order, this case

2     will be subject to dismissal.

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4            DATED THIS 14th day of November 2024.

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6                                                 UNITED STATES MAGISTRATE JUDGE
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